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            UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS
                  EASTERN DIVISION


 Joseph Ocol, on behalf of himself and           Case No. 1:18-cv-8038
 all others similarly situated,

                        Plaintiff,

 v.

 Chicago Teachers Union, as
 representative of the class of all chapters
 and affiliates of the American Federation
 of Teachers; American Federation of
                                                 Plaintiff’s Class-Action Complaint
 Teachers; Lisa Madigan, in her official
 capacity as Attorney General of Illinois;
 Andrea R. Waintroob, Judy Biggert,
 Gilbert F. O’Brien Jr., Lynne O.
 Sered, and Lara Shayne, in their official
 capacities as chair and members of the
 Illinois Educational Labor Relations
 Board,

                        Defendants.



      Joseph Ocol brings this class action on behalf of himself and all others similarly
situated, seeking redress for the defendants’ violations of his constitutionally protected
rights. The defendants have violated Mr. Ocol’s rights by forcing him to pay compul-
sory “fair-share fees” to the Chicago Teachers Union (CTU) and its affiliates as a
condition of his employment. See Janus v. American Federation of State, County, and
Municipal Employees, Council 31, 138 S. Ct. 2448 (2018). Mr. Ocol sues to recover
these unconstitutional assessments, and he sues as class representative for everyone
who paid fair-share fees to the CTU or any other union affiliated with the American
Federation of Teachers (AFT).




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    The defendants are also violating Mr. Ocol’s constitutional rights by forcing him
to accept the CTU as his bargaining representative and forbidding him to negotiate

his own terms of employment. Just as a teacher cannot be forced to join or financially
support a union that he does not support, neither can a teacher be forced to accept
an unwanted and untrusted union as his bargaining representative. Mr. Ocol has es-
pecially compelling reasons for rejecting the CTU as his “representative.” When the
CTU held an illegal one-day strike on April 1, 2016, Mr. Ocol declined to participate
and reported to work rather than leave his students in the lurch. The CTU responded
by expelling Mr. Ocol from union membership — and the union and its members have
subjected Mr. Ocol to acts of bullying and persecution for his decision to work during
the CTU’s illegal strike. A union of this sort cannot be trusted to look after Mr. Ocol’s
interests in the collective-bargaining process, and Mr. Ocol cannot be forced to accept
this entity as his bargaining representative.

                        JURISDICTION AND VENUE
    1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28
U.S.C. § 1343, and 28 U.S.C. § 1367.
    2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).
    3.   Because Mr. Ocol’s claims arose in Cook County, the case is properly as-
signed to the eastern division.

                                      PARTIES
    4.   Plaintiff Joseph Ocol resides in Cook County, Illinois.
    5.   Defendant Chicago Teachers Union (CTU) is a labor union whose offices
are located at 1901 West Carroll Avenue, Chicago, Illinois 60612.




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    6.    Defendant American Federation of Teachers (AFT) is a labor union whose
headquarters are located at 555 New Jersey Avenue, N.W. Washington, D.C. 20001.

The CTU is an affiliate of the AFT.
    7.    Defendant Lisa Madigan is Attorney General of Illinois. Her office is at 100
West Randolph Street, Chicago, Illinois 60601. She is charged with enforcing the
laws of Illinois, including 115 ILCS 5/11 and 115 ILCS 5/3(b), which Mr. Ocol is
challenging as unconstitutional. She is sued in her official capacity.
    8.    Andrea R. Waintroob, Judy Biggert, Gilbert F. O’Brien Jr., Lynne O. Sered,
and Lara Shayne are chair and members of the Illinois Educational Labor Relations
Board. Their offices are located at 160 North LaSalle Street, Suite N-400, Chicago,
Illinois 60601-3103. They are charged with enforcing the provisions of the Illinois
Educational Labor Relations Act, including 115 ILCS 5/11 and 115 ILCS 5/3(b),
which Mr. Ocol is challenging as unconstitutional. They are sued in their official ca-
pacity.

           CLAIM N O . 1 — REFUND OF FAIR-SHARE FEES
    9.    Mr. Ocol is a math teacher at Earle STEM Elementary School in the Chicago
Public Schools.
    10. Mr. Ocol also coaches the chess teams at Earle STEM Elementary School.
He coaches a girls team as well as a boys-and-girls team, and his teams include students
from the second through the eighth grades. He has also organized the first-ever
school chess mentoring club, which includes students from pre-K through eighth
grade.
    11. Although Mr. Ocol is paid a limited stipend for the time he spends after
school as chess coach, most of the time that he spends as chess coach and chess teacher
is not paid for. He spends four days a week after school coaching the chess team from
4:00 p.m. to 6:00 p.m., and he also devotes his Saturdays and Sundays to the chess




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team when there is a tournament on those days. Mr. Ocol provides food, books, and
rewards for the chess team out of his own pocket.

    12. The girls chess team that Mr. Ocol coaches has won numerous tournaments
and was invited to meet President Barack Obama in October 2016.
    13. Recent budget cuts in the Chicago Public Schools have hit Mr. Ocol’s chess
teams, and generous individuals coordinated with the school to set up a GoFundMe
page to make up for the funds lost in the latest round of budget cuts. See
https://www.gofundme.com/chess-team (last visited on December 6, 2018).
    14. Mr. Ocol was a member of the Chicago Teachers Union (CTU) from 2005
until 2016.
    15. On April 1, 2016, the Chicago Teachers Union held an illegal one-day strike
while its members were under contract with the school district.
    16. Mr. Ocol refused to participate in this illegal strike and reported to work.
    17. Mr. Ocol decided to work rather than strike on April 1, 2016, for several
reasons. First, many of Mr. Ocol’s students live below the poverty line and in danger-
ous neighborhoods, and their safety would be endangered if schools were closed for
the day. Second, the parents of these schoolchildren would need to skip work or ar-
range for childcare if the schools were closed, which imposes an unwelcome cost on
many families who are already struggling financially. Third, the CTU’s strike was ille-
gal and Mr. Ocol did not want to participate in an illegal activity. Finally, Mr. Ocol
did not believe that the union’s demands or its decision to strike would benefit the

students. Higher pay and increased benefits for teachers does not provide any inherent
benefit to students, and the strike harmed Mr. Ocol’s students by depriving them of
the day’s lessons and forcing their parents to skip work or arrange for childcare at their
own expense.
    18. After the strike, the CTU demanded that Mr. Ocol surrender the pay he
received for working on April 1, 2016, or face expulsion from the union.


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    19. The CTU also demanded that Mr. Ocol appear for a “hearing” that the
union had scheduled for June 6, 2016, where Mr. Ocol was to respond to the

“charges” that the CTU had levelled against him for refusing to participate in the
union’s illegal strike.
    20. Mr. Ocol declined to attend the hearing on June 6, 2016, because it con-
flicted with a practice session that he had scheduled for his chess team.
    21. The CTU then expelled Mr. Ocol from union membership in September of
2016. But it continued to take “fair-share fees” from his paycheck until the Supreme
Court issued its ruling in Janus v. American Federation of State, County, and Munic-
ipal Employees, Council 31, 138 S. Ct. 2448 (2018).
    22. For the next eight months after the CTU expelled Mr. Ocol from member-
ship, the amount of “fair-share fees” that the union garnished from his paycheck was
higher than the membership dues that he had been charged as a union member. But
see 115 ILCS 5/11 (“The exclusive representative shall certify to the employer an
amount not to exceed the dues uniformly required of members which shall constitute
each non member employee’s fair share fee.”). On the ninth month after Mr. Ocol’s
explusion from the union, the amount of fair-share fees was reduced.
    23. The law of Illinois and the collective-bargaining agreement negotiated by
the CTU compelled Mr. Ocol pay “fair-share fees” to the union after the union ex-
pelled him from membership. See 115 ILCS 5/11 (allowing collective-bargaining
agreements to compel “fair-share fees” from non-union members) (attached as Ex-

hibit 1); Agreement Between The Board of Education of the City of Chicago and
Chicago Teachers Union Local 1, American Federation of Teachers, AFL-CIO, article
1-8.1 (compelling all school employees to pay either union dues or “fair-share fees”)
(attached as Exhibit 2).
    24. This compelled subsidy that the Chicago Teachers Union imposed on Mr.
Ocol and his fellow non-union members violated their constitutional rights. See Janus


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v. American Federation of State, County, and Municipal Employees, Council 31, 138
S. Ct. 2448 (2018).

    25. The CTU’s imposition of a “fair-share fee” that exceeded that amount that
Mr. Ocol had been charged as a full member of the union also violated Illinois law.
See 115 ILCS 5/11 (“The exclusive representative shall certify to the employer an
amount not to exceed the dues uniformly required of members which shall constitute
each non member employee’s fair share fee.”) (emphasis added).
    26. The Supreme Court’s ruling in Janus is retroactive. See Harper v. Virginia
Dep’t of Taxation, 509 U.S. 86, 96 (1993) (“[A] rule of federal law, once announced
and applied to the parties to the controversy, must be given full retroactive effect by
all courts adjudicating federal law.”).
    27. The CTU was acting under color of state law by imposing and collecting
these “fair-share fees” from non-union members. See 115 ILCS 5/11; Lugar v. Ed-
mondson Oil Co. Inc., 457 U.S. 922 (1982).
    28. Mr. Ocol and his fellow class members are therefore entitled to a refund of
the money that was forcibly taken from them in violation of their constitutionally
protected rights. See 42 U.S.C. § 1983.
    29. The affirmative defense of qualified immunity is unavailable to private enti-
ties such as labor unions. See Wyatt v. Cole, 504 U.S. 158, 161 (1992).
    30. Even if the union could assert an affirmative defense such as qualified im-
munity or “good faith,” those defenses can provide only an immunity from money

damages, and they do not confer immunity when a plaintiff seeks equitable monetary
relief such as restitution or unjust enrichment, which Mr. Ocol is asserting here.
    31. Finally, even if this Court were to allow the union to assert a “good faith”
defense to Mr. Ocol’s section 1983 claims, the union must still show that it complied
with pre-Janus case law before it can escape liability under section 1983. See Abood v.
Detroit Board of Education, 431 U.S. 209, 239–40 (1977). Under Abood, public-


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employee unions may require non-members to pay only for union activities that were
non-ideological, and they were forbidden to require an employee to “contribute to

the support of an ideological cause he may oppose as a condition of holding a job.”
Abood, 431 U.S. at 235; see also R.J. Reynolds Tobacco Co. v. Shewry, 423 F.3d 906,
916 (9th Cir. 2005). So the union must, at the very least, prove that it complied with
Abood before it can establish a “good faith” defense under section 1983.
    32. The CTU has committed the torts of conversion and trespass to chattels by
appropriating Mr. Ocol’s money without his consent. The CTU cannot defend its
tortious conduct by relying on 115 ILCS 5/11, because this statute is unconstitu-
tional and unconstitutional statutes cannot confer immunity on tortious conduct.
    33. The collective-bargaining agreement negotiated by the Chicago Teachers
Union promises that the union “shall indemnify and hold harmless” the school district
for any liability that arises out of its collection of “fair-share fees.” See Agreement
Between The Board of Education of the City of Chicago and Chicago Teachers Union
Local 1, American Federation of Teachers, AFL-CIO, article 1-8.7 (attached as Ex-
hibit 2). The collective-bargaining agreement further provides that the CTU “shall
be responsible for the attorney’s fees of any attorney for the BOARD.” Id.
    34. Mr. Ocol is suing on behalf of all non-union employees who were forced to
pay “fair-share fees” to the CTU or any other affiliate of the American Federation of
Teachers as a condition of employment. The class includes everyone who has ever
fallen within this definition, including former or retired school employees, and it in-

cludes anyone who comes within the class definition at any time before the conclusion
of this action.
    35. Mr. Ocol has Article III standing to bring these claims. He has suffered
injury in fact because he was forced to pay money to the union against his will as a
condition of employment. The injury was caused by the unconstitutional behavior of




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the defendants, and the injury will be redressed by a refund of the money that the
union unconstitutionally extracted from Mr. Ocol and his fellow class members.

CLAIM N O . 2 — RIGHT TO NEGOTIATE OUTSIDE THE UNION
        36. Even though Mr. Ocol is not a member of the Chicago Teachers Union,
the law of Illinois and the CTU’s collective-bargaining agreement prevent Mr. Ocol
from negotiating his own terms of employment with his school district. See 115 ILCS
5/3(b) (attached as Exhibit 1). Mr. Ocol remains bound to the terms of employment

negotiated by a union that he does not belong to and that expelled him from mem-
bership — and he must accept this union as his exclusive representative whether he
likes it or not.
        37. Mr. Ocol does not and cannot trust the Chicago Teachers Union to look
after his interests in the collective-bargaining process. The union expelled Mr. Ocol
from membership in 2016 when he refused to participate in the CTU’s illegal one-
day strike, which deprives Mr. Ocol of any vote or voice in collective-bargaining mat-
ters.
        38. Mr. Ocol also does not want to be represented by a union that breaks the
law and organizes an illegal strike while he and his fellow teachers are under contract
to work — and that ostracizes and retaliates against those who obeyed the law and
reported to work as required by their contract.
        39. Yet the law of Illinois compels Mr. Ocol to accept this entity as his bargain-
ing representative, even though the union will not allow Mr. Ocol to vote on its de-
cisions and many of its members are trying to Mr. Ocol’s life and working conditions
unpleasant.
        40. A regime that compels non-union teachers to accept a hostile or unwanted
union as their exclusive bargaining representative violates the First Amendment.




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    41. Although the Supreme Court has never gone so far as to hold that the
Speech Clause requires public employers to permit non-union employees to negotiate

outside the union, the Janus opinion repeatedly acknowledges that exclusive union
bargaining abridges the associational freedom of individual employees. See Janus, No.
16-1466, slip op. at 2 (“Designating a union as the employees’ exclusive representa-
tive substantially restricts the rights of individual employees.”); id., slip op. at 33 (“It
is also not disputed [in Janus] that the State may require that a union serve as exclusive
bargaining agent for its employees — itself a significant impingement on associational
freedoms that would not be tolerated in other contexts.”). Janus also recognizes that
collective bargaining in public education requires the union to stake out positions on
controversial political issues — including merit pay for teachers, the role of seniority
and tenure, how teachers should be evaluated, and political issues such as climate
change and LGBT rights. See id., slip op. at 29–31. So it is inevitable that individual
teachers will disapprove of the bargaining positions adopted by the exclusive repre-
sentative, even when the representative is legally required to act on their behalf. Forc-
ing a non-union teacher to accept the representation of an unwanted union — and
forcing that non-union teacher to accept the union-negotiated terms of employ-
ment — violates the freedom of association protected by the First Amendment.
    42. It is also wrong to assume that collective bargaining confers offsetting ben-
efits on dissident teachers by increasing their salaries beyond what they would earn in
a non-union teaching market. Collective-bargaining agreements force teachers into a

union-imposed salary structure that benefits some teachers at the expense of others.
One of the most perverse features of teacher collective bargaining is the insistence on
a single salary schedule for teachers regardless of subject matter. There is a well-doc-
umented nationwide shortage of teachers in science, technology, engineering, and
mathematics (STEM). See, e.g., Dan Goldhaber, John Krieg, Roddy Theobald, and
Nate Brown, Refueling the STEM and Special Education Teacher Pipelines, Phi Beta


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Kappan at 56–62 (December 2015 – January 2016) (attached as Exhibit 3). And the
reason for this shortage is that college graduates with degrees in STEM fields have

more lucrative opportunities in the private sector than those who graduate with de-
grees in fields such as elementary education. Schools must therefore pay higher salaries
to STEM teachers to induce them to accept jobs in the teaching profession — just as
universities must pay higher salaries to law professors and business-school professors.
But collective bargaining requires teachers to be paid the same across subject matter,
which benefits elementary-education instructors at the expense of math teachers such
as Mr. Ocol.
    43. Collective bargaining also empowers the union to impose a salary structure
that benefits long-tenured incumbent teachers — who often hold leadership positions
in the local union and wield the most power and influence over collective-bargaining
matters — at the expense of entry-level teachers and lateral hires. Collective-bargaining
agreements require school districts to pay exceedingly low salaries to entry-level teach-
ers — no matter how talented and no matter how impressive their academic back-
grounds or previous careers may have been. This deters talented and capable individ-
uals from entering the teaching profession and shields incumbent teachers from com-
petition. And the future entry-level teachers that the union is supposedly “represent-
ing” are not even members of the bargaining unit at the time these agreements are
made — so they have no vote and no say in the terms of employment that the union
negotiates for them.

    44. The CTU’s collective-bargaining agreements also violate the antitrust laws.
The provisions in collective-bargaining agreements that command uniform salaries for
teachers regardless of subject matter are anti-competitive, and they cannot survive the
rule of reason or any other standard of review. They have also exacerbated the nation-
wide shortage of STEM teachers by compelling them to accept salaries equal to those
of elementary-education instructors.


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    45. The CTU has also violated the antitrust laws by compelling entry-level
teachers to accept exceedingly low salaries negotiated by a bargaining unit that they

do not belong to — and by forbidding entry-level teachers to negotiate better deals
with the school district. This pernicious and anti-competitive feature of collective bar-
gaining has deterred talented individuals from entering the teaching profession. It has
also contributed to the nationwide shortage of STEM teachers by forbidding school
districts to offer more attractive compensation packages that could entice math and
science professionals away from the private sector.
    46. The so-called labor exemption that the Supreme Court has read into the
antitrust laws protects only the collective-bargaining activities of private-sector un-
ions, not public-employee unions such as the CTU. The Supreme Court has made
clear that the labor exemption is derived from the federal labor statutes, which protect
collective bargaining only when it occurs in the private sector. See 29 U.S.C.
§ 152(2)–(3) (excluding public employers and public employees from the National
Labor Relations Act); Brown v. Pro Football Inc., 518 U.S. 231 (1996) (“The Court
has implied this [labor] exemption from federal labor statutes, which set forth a na-
tional labor policy favoring free and private collective bargaining.”) (emphasis added).
There is no basis in any federal labor statute for exempting public-employee unions
from the antitrust laws, as federal labor law is entirely agnostic on whether or to what
extent public employees should be allowed to unionize.
    47. Even if public-employee unions could assert immunity from the antitrust

laws in other contexts, there is no reason to interpret the antitrust laws in a manner
that exempts collective bargaining for public-school teachers. The teaching profession
is especially ill-suited for collective bargaining because there are vast differences
among individual teachers in ability, skills, work ethic, subject-matter expertise, edu-
cational backgrounds, and job opportunities. This aggravates the anti-competitive




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harms that arise when collective-bargaining agreements compensate teachers accord-
ing to union-imposed pay scales rather than the laws of supply and demand.

    48. Mr. Ocol is suing on behalf of a class of all non-union teachers who want to
negotiate their own terms of employment outside the CTU’s collective-bargaining
agreements. The class includes anyone who comes within this definition before the
conclusion of this action.

                              CAUSES OF ACTION
    49. Mr. Ocol is suing all of the defendants under 42 U.S.C. § 1983 and the
Declaratory Judgment Act, 28 U.S.C. § 2201, each of which supplies a cause of action
for the individual and class-wide relief that they are requesting.
    50. Mr. Ocol is also suing the union defendants under the federal antitrust laws,
as well as the state-law actions of conversion, trespass to chattels, replevin, unjust en-
richment, restitution, and any other legal or equitable cause of action that offers relief
for this unlawful seizure of his personal property. Mr. Ocol invokes the supplemental
jurisdiction of this court over those state-law claims. See 28 U.S.C. § 1367.

     DEMAND FOR RELIEF — REFUND OF FAIR-SHARE FEES
    51. Mr. Ocol respectfully requests that the court:
         a.   certify a plaintiff class of all individuals who quit or refused to join the
              Chicago Teachers Union or any other affiliate of the American Federa-
              tion of Teachers, but were nonetheless compelled to pay “fair-share
              fees” to those unions as condition of their employment;
         b.   certify a defendant class of all chapters and affiliates of the American
              Federation of Teachers;




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        c.   declare that Mr. Ocol and his fellow class members have a constitutional
             right not to have their wages garnished or redirected by a public-em-

             ployee union without their affirmative, written, and freely given con-
             sent;
        d.   declare that state tort law protects the right of Mr. Ocol and his fellow
             class members not to have their wages garnished or redirected by a pub-
             lic-employee union without their affirmative, written, and freely given
             consent, and that any state or federal law or collective-bargaining agree-
             ment that purports to override these protections of state tort law — or
             that compels public employees to consent the garnishment of their
             wages by a union as a condition of their employment — is unconstitu-
             tional and without legal effect;
        e.   declare 115 ILCS 5/11 unconstitutional because it allows public-em-
             ployee unions to extract “fair-share fees” from non-union members;
        f.   declare that all provisions in collective-bargaining agreements that com-
             pel Mr. Ocol or his fellow class members to pay “fair-share fees” to a
             union violate the Constitution;
        g.   order the Chicago Teachers Union, the American Federation of Teach-
             ers, and every affiliate and chapter or the American Federation of Teach-
             ers, to refund any and all “fair-share fees” that they unconstitutionally
             extracted from Mr. Ocol and his fellow class members, along with pre-

             judgment and post-judgment interest;
        h.   order the Chicago Teachers Union, the American Federation of Teach-
             ers, and every affiliate and chapter or the American Federation of Teach-
             ers, to refund any and all “fair-share fees” that were spent on political
             and ideological expenditures, in violation of Abood and pre-Janus cases,
             along with pre-judgment and post-judgment interest;


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        i.    permanently enjoin the Chicago Teachers Union, the American Feder-
              ation of Teachers, and every affiliate and chapter or the American Fed-

              eration of Teachers, as well as their officers, agents, servants, employees,
              attorneys, and any other person or entity in active concert or participa-
              tion with them, from taking or redirecting any type of money from Mr.
              Ocol and his fellow non-union members without first obtaining their
              affirmative, written, and freely given consent;
        j.    permanently enjoin all of the defendants, along with their officers,
              agents, servants, employees, attorneys, and any other person or entity
              in active concert or participation with them, from enforcing 115 ILCS
              5/11, or any other provision of Illinois law or any provision of a col-
              lective-bargaining agreement or any order of the Illinois Educational
              Labor Relations Board that requires the payment of money as a conse-
              quence for exercising one’s constitutional right not to join or financially
              support a public-employee union, regardless of whether that compelled
              payment of money is received by the union or diverted to a third-party
              organization;
        k.    award costs and attorneys’ fees under 42 U.S.C. § 1988;
        l.    grant all other relief that the Court deems just, proper, or equitable.

                      DEMAND FOR RELIEF —
             RIGHT TO NEGOTIATE OUTSIDE THE UNION
    52. Mr. Ocol respectfully requests that the court:
        a.     certify a class of all non-union teachers who want to negotiate their
               own terms of employment apart from the collective-bargaining agree-
               ments negotiated by the Chicago Teachers Union or any other affili-
               ate of the American Federation of Teachers;




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        b.     declare that Mr. Ocol and his fellow class members have a constitu-
               tional right to reject the representation of a union and negotiate their

               own salaries and terms of employment with public employers;
        c.     declare 115 ILCS 5/3(b) unconstitutional, along with any other law
               that prevents Mr. Ocol or his fellow class members from rejecting the
               a teacher union’s representation and negotiating their own salaries
               and terms of employment with public-school employers, and perma-
               nently enjoin the defendants, along with their officers, agents, serv-
               ants, employees, attorneys, and any other person or entity in active
               concert or participation with them, from enforcing those unconstitu-
               tional state laws;
        d.     declare unconstitutional any provision in any collective-bargaining
               agreement that prohibits a public employer from negotiating outside
               the union with non-union employees or non-union job applicants,
               and permanently enjoin the defendants, along with their officers,
               agents, servants, employees, attorneys, and any other person or entity
               in active concert or participation with them, from enforcing or com-
               plying with any such provision in a collective-bargaining agreement;
        e.     declare that the collective-bargaining agreements negotiated by the
               Chicago Teachers Union or any affiliate of the American Federation
               of Teachers are subject to federal antitrust scrutiny, and declare that

               provisions in collective-bargaining agreements that compel uniform
               pay scales across subject matter and that pull down the salaries of new
               entrants in an effort to benefit long-tenured incumbent teachers at
               the school district violate the antitrust laws;
        f.     order the Chicago Teachers Union and the affiliates of the American
               Federation of Teachers to pay treble damages to math and science


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               teachers and other teachers in high-demand fields whose salaries have
               been pulled down by the union’s insistence on a uniform pay scale

               across subject matter;
        g.     order the Chicago Teachers Union and the affiliates of the American
               Federation of Teachers to pay treble damages to entry-level teachers
               whose salaries were pulled down by union-negotiated pay scales that
               benefit incumbent teachers at the expense of new entrants;
        h.     award costs and attorneys’ fees;
        i.     grant all other relief that the Court deems just, proper, or equitable.

                                           Respectfully submitted.

                                            /s/ Norman Rifkind
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* pro hac vice application pending

Dated: December 6, 2018




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